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Case 5:02-¢r-20120-JF Document 165

LUPE MARTINEZ, CSB 49620
Attorney at Law

3564 Juergen Drive

San Jose, California 95121
Telephone: (408) 531-9239
FAX: (408) 531-9811

Cell: (925) 783-6401
martinez-luna@sbcglobal.net

Counsel for Defendant
Donald B. Ostrom

Filed 11/15/06 Page 1of5

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RICHARD W. WIEKING
CLERK
U.S. DISTRICT COURT

HO. DIST. OF CA. S
C/V |

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
VS.

DONALD R. OSTROM, aka Donald R.
Ostrum

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Defendant.

 

No. 02-20120-JF (RS)

STIPULATION RE: EXONERATION
OF BOND AND RECONVEYANCE OF
REALTY; [PROPOSED] ORDER

Honorable Richard J. Seeborg
United States Magistrate-Judge

Defendant and the government here by stipulate as follows

I, Lupe Martinez, declare:

1. On August 20, 2002, Mr. Donald Ostrom made his initial appearance before

U.S. Magistrate-Judge Richard Seeborg in the Northern District of California.

3. On December 19, 2002, Magistrate-Judge Richard Seeborg set bail at

$400,000.00 secured by real property. Attached hereto as Exhibit 1 is a copy of the

Conditions of Release and Appearance.

4. On December 20, 2002, Magistrate-Judge Richard Seeborg signed the

conditions of release after two deeds of trust for two properties were recorded, with the

Santa Clara County Recorder with Richard W. Wieking, Clerk of the U.S. District ort, y

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Stipulation re: Exoneration of Bond and
Reconveyance of Property

 

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Case 9:02-£/-20120-JF Document 165 Filed TA/15/06 Page 2 of 5

as beneficiary
a. 15 Whittlier Street, San Jose, California 95035, APN # 022-25-005 (Book
5). A copy of the Short Form Deed of Trust, Santa Clara County Recorder
Document No. 16644418 in the amount of $600,000.00 recorded November
26, 2002, with John Lunetta and Nancy Patterson as Trustors is attached as
Exhibit 2.
b. 108 North 26" Street, San Jose, California 95116, APN 3 467-09-003,
Bookof Maps (N) at page 70. A copy of the Short Form Deed of Trust,
Santa Clara County Recorder Document No. 166644417 in the amount of
$600,000.00 recorded November 26, 2002, with Barbara Allen as Trustor is
attached as Exhibit 3.
5. On October 6, 2005, Mr. Ostrom was found in violation of conditions of pre-
trial release and remanded to the custody of the US Marshals pending sentencing.
6. The next appearance set is a Status Conference on November 29, 2006 at 9:00
a.m.
7. The parties stipulate to issuance of the attached order exonerating the above

bonds and reconveyance of the properties.

Dated: November , 2006

   

Attorney for Defendant Ostrom

Dated: November. t , 2006 XR lage

JOHN GLANG
Assistant United state Attorney

 

Stipulation re: Exoneration of Bond and
Reconveyance of Property 2

 
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CITY, STATE & ' : BRENDA DAVIS RDE # @
arcor | Milpitas, CA 95035 SANTA CLARA COUNTY RECORDER 11/26/28

 
 
  

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SHORT FORM DEED OF TRUST AND ASSIGNMENT OF RENTS (With Future Borrowing Clause}

incorporating by reference certain provisions of a fictitious deed of trust of record

This Deed of Trust, Made this 25th day of November 2002 betweer
John Lunetta & Nancy Patterson

 

 

AYA

herein called TRUSTO!

whose address is 15 Whittier St., San Jose, CA 95035
)

(Number and Street) (City (State) (Zip)
Downey Savings & Loan herein called TRUSTEE, ar
Richard W. Wieking, US District Court herein called BENEFICIAR’

WITNESSETH: That Trustor iRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE IN TRUST, WITH POWER OF SALE, th

property in Santa Clara County, California, described a |
All that certain real property situated in the City of Milpitas, County
of Santa Clara described as follows: Lot 51 as shown on the certain map
of tract No. 1366 which map was filed for the record in the Office of

the Recorder of the County of Santa Clara, State of California on Novemb
3, 1954 in Book 53 of Maps, page 18, APN#022-25-005 (Book 53)

TOGETHER WITH the rents, issues and profits thereol, SUBJECT, HOWEVER, to the right, power and authority given to and conferred upon Beneficiary by paragra
(10) of the provisions incorporated herein by reference to collect and apply such rents, issues and profits.

For the Purpose of Securing: 1. Performance of each agreement of Trustor incorporated by reference or contained herein. 2. Payment of the indebtedness evidenc
by one promissory note of even date herewith, and any extension or renewal thereof, in the principal sum of $ 400,000.00 executed by Trus
in favor of Beneficiary or order. 3. Payment of such further sums as the then record owner of said property hereafter may borrow from Beneficiary, when evidenc
by another note {or notes) reciting it is so secured.

To protect the Security of This Deed of Trust. Trustor Agrees: By the execution and delivery of this Deed of Trust and the note secured hereby, that provisions
to (14), inclusive, of the fictitious deed of trust recorded June 1, 1953, in the book and at the page of Official Records in the office of the county recorder of

county where said property is located, noted below opposite the name of such county, viz.:

COUNTY BOOK PAGE COUNTY BOOK PAGE COUNTY BOOKPAGE COUNTY BOOK PAC
Alameda 7043 «+119 Kings 558 124 Placer 629 311 Sierra 6
Alpine G 65 Lake 235 108 Plumas 64 277 Siskiyou 315 1
Amador 52 393 Lassen 90 305 Riverside 1477 255 Solano 670 2
Butte 675 4 Los Angeles 41866 80 Sacramento 2420 317 Sonoma 1210 6
Calaveras 81 369 Madera 582 315 San Benito 196 295 Stanislaus 1154 4
Colusa 198 142 Marin 808 420 San Bernardino3179 87 Sutter 397 2.
Contra Costa 2133 208 Mariposa 43 242 San Diego 4874 512 Tehama 244 3
Del Norte 37 «241 Mendocino 345 92 San Francisco 6165 282 Trinity 52 1
Ei Dorado 325 506 Merced 1110 55 San Joaquin 1528 314 Tulare 1679 1
Fresno 3313 673 Madoc 109 221 San Luis Obispo712 43 Tuolumne 62

Glenn 295 536 Mono 30 343 San Mateo 2425 243 Ventura 1137 1
Humboldt 252 449 Monterey 1458 561 Santa Barbara 1156 1 Yolo 395 3
Imperial 862 639 Napa 415 331 Santa Clara 2627 445 Yuba 179 2
Inyo 103 83 Nevada 186 337 Santa Cruz 916 153

Kern 2070 417 Orange 2512 500 Shasta 402 1

(which provisions, identical in alt counties, are printed on pages 3 & 4 hereof} hereby are adopted and incorporated herein and made a part hereof as full:
though set forth herein at length; that he will observe and perform said provisions; and that the references to property, obligations, and parties in
provisions shall be construed to refer to the property, obligations, and parties sot forth in this Oeed of Trust.

The undersigned Trustor requests that a cony of any Notice of Detault and of any Notice of Sale hereunder be mailad to him at his address hereinbefore

forth. Tohp LUSES

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STATEMENTS ZA
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Before you use this form, [itt in all blanks, and make whatever changes are appropriate and necessary to your particular transaction. Consult a lawyer if
doubt the form's fitness for your purpose and use. Wolcotts makes no representation or warranty, express oF implied, with respect to the marchantability or fits
of this form for an intended use or purpose.

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a SHORT FORM DEED OF TRUST AND ASSIGNMENT OF RENTS (With Future Borrowing C
incorporating by reference certain provisions of a fictitious deed of trust of record
This Deed of Trust, Madethis 25th day of November, 2002
Barbara Allen herein cal
whose address is 108 N. 26th Street, San Jose, CA 95116
‘Number and Street) (City) (State)

Washington Mutual, Inc. herein called ©
Richard W. Wieking, US District Court herein called t
WITNESSETH: That Trustor AREVOCABLY GRANTS. TRANSFERS AND ASSIGNS TO TRUSTEE IN TRUST. WITH POWE
property iN canta Clara County, California,

All that certain real property situated in the county of Santa |
of California, described as follows: City of San Jose, All of
8 as shown upon that certain map entitled “map of Garden Tract"
filed for record in the Office of the Recorder of the COunty of
State of California on August 27, 1887 in Book of Maps (N) at ov.
APN# 467-09-003

TOGETHER WITH the rents, issues and profits inereot. SUBJECT, HOWEVER. to [ne nignt, power ana autnonty given to and conferrad upon Bane
(10) of the provisions incorporated herein by raference to collect and apply such rents, :ssues and profits.
For the Purpose of Securing: 1. Performance of each agreement of Trustor incorporated by reference or contained pein a Payne ye the inde
by one promissory note of even date herewith, and any extension or renewal thereof, in the principal sum of $ ’ . _
in tavor of Beneficiary or order. 3. Payment of such further sums as the then record owner of said property hereafter may borrow from Benefici:
by another note (or notes) reciting it is so secured.

To protect the Security of This Deed of Trust, Trustor Agrees: By the execution and delivery of this Deed of Trust and the note secured hereb:
to (14), inclusive, of the fictitious deed of trust recorded June 1, 1953, in the book and at the page of Official Records in the office of the cc
county where said property 's located, notad below opposite the name of such county, viz.

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Alpine G 65 Lake 235 108 Plumas 64 277 Siskiyou
Amador 52 393 Lassen 90 305 Riverside 1477 255 Solano
Butte 675 4 Los Angeles 41866 80 Sacramento 2420 317 Sonoma
Calaveras 81 369 Madera 582 315 San Benito — 196 295 Stanislaus
Colusa 198 142 Marin 808 420 San Bernardino3179 87 Sutter
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Del Norte 37. 241 Mendocino 345 92 San Francisco 6165 282 rinity
El Dorado 325 506 Merced 1110 55 San Joaquin 1528 314 Tulare
Fresno 3313 673 Modoc 109 221 San Luis Obispo 712 43 Tuolumne
Glenn 295 536 Mono 30 343 San Mateo 2425 243 Ventura
Humboldt 252 449 Monterey 1458 561 Santa Barbara 17156 1 Yolo
Imperial 862 639 Napa 415 331 Santa Clara 2627 445 Yuba
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(which provisions, identical in ail counties, are printed on pages 3 & 4 nereot) heredy ara adopted and incorporated herein anc Mave d pi
though set forth herein at lengih, that he will observe and perform said provisions; and that the references to property. obligations,
provisions shall be construed to refer to the property, obligations, and oarties Set forth in this Deed of Trust.

The undersigned Trustor requests shat a Copy of any Notice of Default any of amy Notice af Sale hereunder be mailed to him at his addr

 

fortn Signature af Trustor
MAIL TAX _. LA JA £ l

 

 

STATEMENTS VE a MA AME

 

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